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lN THE UN|TED STATES DISTRICT COURT
05 JUL 22 '

i£l'- 33 FoR THE wEsTERN o§sTRicT oF TENNESSEE 2005 JUL 20 FH 3= 09
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S OF AMER|CA, ) CL ER& U.S [}i;j;§ jt `COU'~T

mfng m WD win 0§§§§ §§ §;§ §§§§ "
Plaintiff, )

vs. ) Criminal No. 02-20165-DA
ALV|N lRW|N MOSS, ET AL )
)
Defendants.

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MOT|ON OF THE UN|TED STATES
FOR EXTENS|ON OF TIME lN WHICH TO FILE
EXHIB|T LlST

 

Comes now the United States of America, by and through the United States
Attorney for the Western District of Tennessee and his duly authorized Assistant, Dan l_.
Newsom, and would respectfully state to this l-lonorabie Court as follows:

1. The current trial date in this matter is set for September 6, 2005. The Court
has instructed the Government to provide Defendants with a list of witnesses within 30
days of trial (Present|y August 7, 2005). The Court has also instructed the Government to
provide defendants with an exhibit list within 45 days of trial (Presently Ju|y 21, 2005).
ln order to provide a witness list it is crucial that the case agent (S/A Pam Vanderburg)
assist the prosecutor in that she is most knowledgeabie about ali potential evidence. As

to the exhibit list, in attempting to fully comply with the Court’s instruction, the Prosecutor

MOT\ON'? _GRANT_E_D ‘

   
  

Thls document entered on the docket s
with Huie 55 and/or 32(b) FRCrP on

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has been to the critical care unit of the Baptist East hospital attempting to compile the
exhibit list in this matter with S/A Vanderburg's assistance As the Court is aware from a
|Vlotion fiied yesterday, S/A Pam Vanderburg has been at said hospital here in Memphis
for the past two days. Herfather underwent major surgery two days ago, and is scheduled
for two additional major surgeries, one today and one tomorrow or Friday.

2. S/A Vanderburg’s assistance is crucial to compiling the exhibit list, which
would necessarily include her physical review of many items of potential evidence.
Because of these circumstances, which were not foreseeable to the Government, this
cannot be accomplished by tomorrow, Ju|y 21, 2005.

PREMlSES CONS|DERED the United States hereby moves this Honorab|e Court
to allow the Government to provide Defendants with the exhibit list 30 days prior to the trial
of this cause (August 7, 2005 is 30 days from the current trial date).

Respectfu|ly submitted,

 
 
  

' ‘. ELL L. HARR|S
o States Attorney

oAN L. NEv\l'soM “
Senior Litigation Counse|

By:

Case 2:02-cr-20165-BBD Document 567 Filed 07/22/05 Page 3 of 7 PagelD 735

CERTIF|CATE OF SERV|CE
|, Dan L. Newsom, Assistant United States Attorney, do hereby certify that a copy of

the foregoing Response was fonNarded, via Fax transmission, to each of the below-named
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Notice of Distribution

This notice confirms a copy of the document docketed as number 567 in
case 2:02-CR-20165 Was distributed by faX, mail, or direct printing on
July 25, 2005 to the parties listed.

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